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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF OKLAHOMA

 1. OPTIONS INCORPORATED d/b/a Options )
     Inc., a not for profit corporation,     )
                                             )
             Plaintiff,                      )
                                             )
v.                                           ) Case No.17-CV-162-JHP
                                             )
1. NATIONAL UNION FIRE INSURANCE             )
   COMPANY OF PITTSBURGH, PA, a              )
   Foreign For Profit Insurance Corporation, )
                                             )
             Defendant.                      )

            STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), Plaintiff,

Options Incorporated d/b/a Options Inc., and Defendant, National Union Fire

Insurance Company of Pittsburgh, PA, hereby stipulate to the dismissal of the

above entitled action with prejudice to the refiling thereof. Each side is to bear its

own costs and fees.

                                 By s/ Michael D. McGrew
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